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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION

BRIANNA BOE, et al.,      }
                          }
    Plaintiffs,           }
                          }
and                       }
                          }
UNITED STATES OF AMERICA, }                   Case No. 2:22-CV-184-LCB
                          }
    Plaintiff-Intervenor, }
                          }
v.                        }
                          }
STEVE MARSHALL, et al.,   }
                          }
    Defendants.           }

        NOTICE BY JENNIFER LEVI AND SHANNON MINTER
     OF COMPLIANCE WITH THE COURT’S JUNE 20, 2024 ORDER

      Respondents Jennifer Levi and Shannon Minter respectfully submit this

Notice of Compliance with the Court’s June 20, 2024 order, requiring them to submit

to the Court “any public statements they or their organizations have made about these

attorney-disciplinary proceedings, including press releases, website content, social

media posts, interviews, public speeches, newsletters, and public emails.” (Doc.

578.) Levi and Minter are attaching to this Notice the public statements that the non-

profit organizations for which they work have issued in relation to this disciplinary

matter, and such statements will be emailed separately to Chambers at the email

address specified in the June 20 order. Levi and Minter themselves have not issued
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public statements, outside of their filings and statements in Court, about this

disciplinary proceeding.

      In complying with the June 20 order, Levi and Minter do not intend to waive

any objection to the Court’s reliance on these statements, in whole or in part, as a

basis for imposing or enhancing any sanction that might be imposed, which would

raise due process and other concerns. Levi and Minter respectfully submit that these

statements are both protected by the First Amendment and not relevant to this

proceeding. Levi and Minter also do not waive any objection to the June 20 order

to the extent it seeks to chill future protected speech by them or by the non-party

non-profit organizations for which they work.




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 Respectfully submitted this 22nd day of June, 2024.

                          /s/ April A. Otterberg___________
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                          Counsel for Jennifer Levi and Shannon Minter




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                         CERTIFICATE OF SERVICE

       I certify that on June 22, 2024, I filed the foregoing electronically with the
Clerk of Court using the CM/ECF system, which will automatically serve all counsel
of record.

                                             /s/ April A. Otterberg_________
